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                 Exhibit G
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From: Joshua Levy <jal@levyfirestone.com>
Date: Thursday, May 13, 2021 at 10:38 AM
To: Joe Oliveri <joe@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke
<libby@clarelocke.com>, Andy Phillips
<andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC
et al

Joe --

Please circulate a dial-in for the 2pm call. My colleague
Andrew Sharp will be joining us.

As to the issues raised in our May 5 letter, it is our position
that Defendants have complied with the Protective Order,
and Plaintiffs have not. That said, we are willing to meet and
confer on a later date with regard to that issue. Likewise, we
will await Plaintiffs' production of a privilege log, which
Plaintiffs mentioned for the first time in their May 12 letter in
response to Defendants' challenge of Plaintiffs' privilege
designations in their April 29, 2021 production. We can hold
a meet and confer on privilege after we receive Plaintiffs'
privilege log.

With regard to sanctions under Rule 37, we will move ahead
today with a 7(m) conference on sanctions for Defendants'
legal work moving to compel those documents, unless
Plaintiffs agree to pay Defendants' fees.

We have (repeatedly) addressed Plaintiffs' requests for
discovery, and all counsel for Defendants have acted
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appropriately at all times. It is unproductive to have
Defendants repeat in every piece of correspondence that the
parties cannot take discovery until the Court establishes a
discovery period and deadline, in the absence of any.

Josh


Joshua A. Levy

Partner



Levy | Firestone | Muse

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To ensure compliance with requirements imposed by the U.S. Internal Revenue
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From: Joe Oliveri <joe@clarelocke.com>
Sent: Thursday, May 13, 2021 9:43 AM
To: Josh Levy <jal@levyfirestone.com>; Rachel Clattenburg
<rmc@levyfirestone.com>; Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Libby Locke
<libby@clarelocke.com>; Andy Phillips <andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al

Hi Josh,

Let’s talk at 2:00pm. I will call you then.

As we explained in our letter yesterday, it is premature to meet and
confer regarding the issues you raised in your May 5 letter,
including because you have failed to comply with the procedures
set forth in the Protective Order by failing to raise issues with the
designation of any specific documents in Plaintiffs’ April 29
production. (As you surely know, your blanket challenge to “all”
designations does not suffice under the Protective Order, which
does not require a producing party to justify all designations en
masse.) Of course, if and when you comply with the proper
procedures under the Protective Order, we will gladly and
promptly meet and confer with you regarding any issues properly
raised.
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In addition, before further addressing the issues raised in your May
5 letter (to which we just responded yesterday), we respectfully ask
—again—that you (1) respond to our questions regarding the
improper attempt to communicate with Plaintiff German Khan
(who, as you know, is represented by counsel in this case), which
we raised with you nearly a month ago (in both an April 16 letter
and an April 28 email) but to which you have thus far refused to
respond; and (2) respond to the other issues we raised in our prior
communications to you. We desire for discovery to proceed
without delay, but it must be a two-way street. We hope you will
cooperate.

Best,
Joe

Joseph R. Oliveri | Partner
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joe@clarelocke.com | www.clarelocke.com
